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   9
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  11                            UNITED STATES DISTRICT COURT
  12              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13
  14 VANESSA BRYANT,                             CASE NO. 2:20-cv-09582-JFW-E
  15                                             (Lead Case) (Consolidated with 2:20-
             Plaintiff,                          cv-10844-JFW-E)
  16
         v.
  17                                             THIRD JOINT STIPULATION TO
     COUNTY OF LOS ANGELES, et al.,              CONTINUE DEADLINE FOR
  18                                             STATEMENT ON STATE LAW
  19         Defendants.                         CLAIMS

  20 CHRISTOPHER L. CHESTER,
                                                 Assigned to the Hon. John F. Walter
  21                   Plaintiff,                and Magistrate Judge Charles F. Eick
  22
                  v.
  23
       COUNTY OF LOS ANGELES, et al.,
  24
                       Defendants.
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       582119.1
          THIRD JOINT STIPULATION TO CONTINUE DEADLINE FOR STATEMENT ON STATE LAW CLAIMS
Case 2:20-cv-09582-JFW-E Document 472 Filed 10/24/22 Page 2 of 5 Page ID #:38156




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  21 VANESSA BRYANT
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          THIRD JOINT STIPULATION TO CONTINUE DEADLINE FOR STATEMENT ON STATE LAW CLAIMS
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   1                                         STIPULATION
   2              Plaintiff Vanessa Bryant and Defendants County of Los Angeles, Los
   3 Angeles County Sheriff’s Department, and Los Angeles County Fire Department
   4 (together with Plaintiff, the “Parties”), by and through their respective counsel of
   5 record, hereby stipulate to Plaintiff’s deadline to submit a statement regarding
   6 whether she intends to pursue her state law causes of action, currently set for
   7 October 26, 2022, being continued to November 16, 2022, based upon the following
   8 good cause:
   9              1.    On August 31, 2022, the Court issued an Order instructing Plaintiff to
  10 file a statement advising the Court whether she intends to pursue her state law
  11 causes of action. (See Dkt. 440.)
  12              2.    Following the Court’s Order, Plaintiff and Defendants have engaged in
  13 dialogue regarding Plaintiff’s state law claims.
  14              3.    The Parties previously agreed to a three-week continuance of the
  15 deadline to submit Plaintiff’s statement, which the Court granted—continuing the
  16 deadline from September 19, 2022 to October 10, 2022. (See Dkt. 458.)
  17              4.    The Parties subsequently agreed to a second two-week continuance of
  18 the deadline to submit Plaintiff’s statement, which the Court granted—continuing
  19 the deadline from October 10, 2022 to October 26, 2022. (See Dkt. 469.)
  20              5.    The Parties believe a further continuance of the deadline to submit
  21 Plaintiff’s statement—from October 26 to November 16, 2022—will provide time
  22 for their discussions to continue and enable Plaintiff to provide a more definite
  23 statement of her intention with respect to the state law claims.
  24              6.    The requested continuance is not made with the intent to delay
  25 proceedings, nor will a continuance affect any other deadline in the case.
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          THIRD JOINT STIPULATION TO CONTINUE DEADLINE FOR STATEMENT ON STATE LAW CLAIMS
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   1 IT IS SO STIPULATED.
   2
   3 DATED: October 24, 2022              OFFICE OF COUNTY COUNSEL
   4
   5
                                          By:           /s/ Jonathan C. McCaverty
   6
                                                    JONATHAN C. McCAVERTY
   7                                                Attorneys for Defendant
   8                                                LOS ANGELES COUNTY SHERIFF’S
                                                    DEPARTMENT
   9
  10
  11 DATED: October 24, 2022              MILLER BARONDESS, LLP
  12
  13
  14                                      By:           /s/ Mira Hashmall
                                                    MIRA HASHMALL
  15
                                                    Attorneys for Defendants
  16                                                COUNTY OF LOS ANGELES and
                                                    LOS ANGELES COUNTY FIRE
  17
                                                    DEPARTMENT
  18
  19
  20 DATED: October 24, 2022              WILSON SONSINI GOODRICH & ROSATI
  21                                      PC

  22
  23
                                          By:           /s/ Luis Li
  24                                                LUIS LI
  25                                                Attorneys for Plaintiff
                                                    VANESSA BRYANT
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          THIRD JOINT STIPULATION TO CONTINUE DEADLINE FOR STATEMENT ON STATE LAW CLAIMS
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   1                                 SIGNATURE ATTESTATION
   2              The other signatories listed, and on whose behalf the filing is submitted,
   3 concur in the filing’s content and have authorized the filing.
   4
   5 DATED: October 24, 2022                    MILLER BARONDESS, LLP
   6
   7
                                                By:           /s/ Mira Hashmall
   8
                                                          MIRA HASHMALL
   9                                                      Attorneys for Defendants
  10                                                      COUNTY OF LOS ANGELES and
                                                          LOS ANGELES COUNTY FIRE
  11                                                      DEPARTMENT
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          THIRD JOINT STIPULATION TO CONTINUE DEADLINE FOR STATEMENT ON STATE LAW CLAIMS
